Case 3:13-cr-00434-FLW        Document 54       Filed 06/12/14     Page 1 of 12 PageID: 1080




*NOT FOR PUBLICATION

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

___________________________________
                                    :
UNITED STATES OF AMERICA            :
                                    :
                  Plaintiff,        :                      Criminal No. 13-434 (FLW)
                                    :
        v.                          :                      OPINION
                                    :
TYREEK M. HARRINGTON                :
                                    :
                  Defendant.        :
___________________________________ :

WOLFSON, United States District Judge:

       On September 18, 2013, Defendant Tyreek M. Harrington (“Harrington” or “Defendant”)

was convicted by a jury of one count of possession of a firearm, specifically a 12 gauge semi-

automatic shotgun, in violation of 18 U.S.C. § 922(g)(1). Defendant was acquitted on a second

count of possession of a firearm, specifically, a .32 caliber revolver. Defendant now moves the

Court to vacate the conviction and order a new trial under Rule 33 because of juror misconduct.

For the reasons set forth below, Defendant’s motion is granted.

       I.     BACKGROUND

       The following is a brief summary of the Government’s allegations. On April 20, 2012,

New Jersey State Police and Trenton Police, working together, responded to information relating

to a drug sale in Trenton, New Jersey. Upon arriving at the scene, Detective Blair Asbury, of the

New Jersey State Police, observed an individual later identified as Harrington apparently in

possession of a firearm and drug paraphernalia.       The police arrested several individuals,

including Harrington and another individual named Alton Powell, and, following an




                                                1
Case 3:13-cr-00434-FLW         Document 54        Filed 06/12/14      Page 2 of 12 PageID: 1081




investigation of the area, recovered, inter alia, two firearms—a sawed-off shotgun and a

handgun. Based on this incident, the Government brought charges against Harrington and

Powell. On June 28, 2013, a grand jury in Trenton, New Jersey, returned a two-count indictment

against both Harrington and Powell.       Count One charged Harrington with possession of a

firearm, specifically at JC Higgins, Model 66, 12 gauge semi-automatic shotgun, in violation of

18 U.S.C. § 922(g)(1). Count Two charged both Harrington and Powell with another violation

of § 922(g)(1), for possession of a F.I.E. Corp., Titanic .32 caliber revolver. Prior to trial Powell

pleaded guilty to Count Two. Harrington proceeding to trial on September 16, 2013, during

which the Government introduced testimony from New Jersey State Police Officers Blair

Astbury (“Officer Astbury”) and Alan Constance (“Officer Constance”), and Bureau of Alcohol,

Tobacco, Firearms and Explosives Special Agent Thomas Anthony Greco (“Agent Greco”), and

produced the firearms charged in the indictment. After the Government rested, Harrington called

several witnesses, including Powell, but Harrington himself did not testify. Both sides rested on

September 17, 2013. On September 18, 2013, the parties presented their closing arguments and

the jury was charged; on that same day, the jury returned its verdict and Harrington was

convicted only on Count One, that he violated § 922(g)(1) for having possessed the shotgun.

The jury acquitted Harrington on Count Two. Defendant now moves the Court to vacate the

conviction and order a new trial.1

       II.     LEGAL STANDARD

       Federal Rule of Criminal Procedure 33 provides that “[u]pon the defendant’s motion, the

court may vacate any judgment and grant a new trial if the interest of justice so requires.” Fed.
1
         Defendant also filed a motion for judgment of aquittal pursuant to Fed. R. Crim. P. 29.
My decision to vacate Defendant’s conviction and order a new trial renders Defendant’s Rule 29
motion moot, and thus I make no ruling in that regard. Nevertheless, I note that some aspects of
Defendant’s Rule 29 motion are relevant in determining whether, under the circumstances, a new
trial is warranted.


                                                 2
Case 3:13-cr-00434-FLW         Document 54        Filed 06/12/14      Page 3 of 12 PageID: 1082




R. Crim. P. 33. The authority to grant a new trial pursuant to Rule 33 is limited to those

instances where the Court “believes that there is a serious danger that a miscarriage of justice has

occurred—that is, that an innocent person has been convicted.” United States v. Johnson, 302

F.3d 139, 150 (3d Cir. 2002) (internal citations and quotation marks omitted); United States v.

Silveus, 542 F.3d 993, 1004-1005, (3d Cir. 2008). Even in those cases where the court may feel

that the verdict is contrary to the weight of the evidence, “[m]otions for a new trial based on the

weight of the evidence are not favored” and should be limited to “exceptional cases.” Silveus,

542 F.3d at 1005 (quoting Government of Virgin Islands v. Derricks, 810 F.2d 50, 55 (3d Cir.

1987)). Yet if there is a reasonable possibility that a “trial error had a substantial influence on

the verdict,” a new trial must be granted. United States v. Mastro, 570 F. Supp. 1388, 1390

(E.D. Pa. 1983); Government of Virgin Islands v. Bedford, 671 F.2d 758, 762 (3d Cir. 1982)).

       III.    DISCUSSION

       Defendant was convicted of possession of a firearm in violation of 18 U.S.C. §

922(g)(1).2 Defendant now moves for this Court to vacate the conviction and order a new trial

based on juror misconduct. Specifically, Defendant claims that one of the jurors admitted after

trial that she had researched Defendant online following the voir dire and empanelment of the

jury. According to Defendant, this juror learned information about Defendant that was not

presented during the trial, and was highly prejudicial to Defendant. On this basis, Defendant

2
       Section 922(g)(1) provides:

       It shall be unlawful for any person—
       (1) who has been convicted in any court of, a crime punishable by imprisonment
       for a term exceeding one year;
       to ship or transport in interstate or foreign commerce, or possess in or affecting
       commerce, any firearm or ammunition; or to receive any firearm or ammunition
       which has been shipped or transported in interstate or foreign commerce.

18 U.S.C. § 922(g)(1).


                                                 3
Case 3:13-cr-00434-FLW         Document 54       Filed 06/12/14      Page 4 of 12 PageID: 1083




contends that a new trial is warranted in the interests of justice because of the high likelihood

that this juror’s misconduct tainted the jury’s verdict. The Government opposes Defendant’s

motion on the grounds that the misconduct was not prejudicial to Defendant.             The facts

surrounding the juror’s misconduct and the Court’s post-trial inquiry are largely undisputed; I set

forth those additional facts before proceeding to the merits of Defendant’s motion.

       On September 18, 2013, based on the testimony and evidence, the jury found that the

Government had proved, beyond a reasonable doubt, that Harrington possessed the shotgun

identified in Count One of the Indictment, but not the revolver identified in Count Two, and

accordingly found him guilty of only one count of a violation of § 922(g). On that same day,

following the entry of the verdict and judgment against Harrington, I dismissed the jury. On

September 19, 2013, counsel for Defendant found an anonymous comment on an online news

article that he believed indicated potential juror misconduct.        The comment, posted by

“anonymous169” on a September 18, 2013 news article on the website “nj.com” regarding

Defendant’s conviction, and in response to another comment, stated:

       [Tyreek Harrington] is a well-known member of the Bloods, his uncle is one of
       the founders of the Trenton division. It was a JC Higgins Sears Roebuck 12
       gauge. He’s in jail for other offenses and awaits trial for arrests that occurred
       since the one mentioned above. I think he will be in for more than three years,
       but may not serve the full ten.

       Source: I was a juror.[3]

Defense counsel immediately informed the Court and the Government of the online comment,

and requested that the Court allow for further investigation to determine whether one of the

jurors from Defendant’s trial had in fact posted this comment. The parties agreed that the

3
       The article can be accessed at http://www.nj.com/mercer/index.ssf/2013/09/trenton_
bloods_gangster_convicted_for_carrying_a_sawed-off_shotgun.html.       The comment by
anonymous169 has since been deleted, but the parties agree that such a comment was posted
with the above language.


                                                4
Case 3:13-cr-00434-FLW          Document 54        Filed 06/12/14     Page 5 of 12 PageID: 1084




information in the comment pertaining to gang affiliation and the Defendant being incarcerated

on other arrests was information that was not presented at trial, and which the post’s author could

only obtain from extrajudicial sources. In light of this, and given the post author’s closing

comment of “I was a juror,” the Court granted Defendant’s request to investigate. Defense

counsel was able to obtain the email address associated with the anonymous169 post, and with

this information, the parties concluded that the author of the post was most likely Juror Six from

Defendant’s jury panel. At this time, in order to preserve his rights, Defendant filed his Rule 33

motion for a new trial, which the Court held in abeyance until further investigation could be

completed.

       On November 16, 2013, at the request of defense counsel, the Court held an ex parte, in

camera, and sworn interview of Juror Six, in the presence of the court reporter. Relying on

questions drawn up in consultation with the parties, and within the strictures of Fed. R. Evid.

606(b),4 the Court confirmed that Juror Six was the author of the anonymous169 comment.

When questioned about when and where she learned of Defendant’s gang affiliation and other

4
       Rule 606(b) governs the scope of questioning of a juror on the validity of a verdict, and
provides in relevant part:

             (1) Prohibited Testimony or Other Evidence. During an inquiry into the
             validity of a verdict or indictment, a juror may not testify about any statement
             made or incident that occurred during the jury’s deliberations; the effect of
             anything on that juror’s or another juror’s vote; or any juror’s mental
             processes concerning the verdict or indictment. The court may not receive a
             juror’s affidavit or evidence of a juror’s statement on these matters.

       (2) Exceptions. A juror may testify about whether:

             (A) extraneous prejudicial information was improperly brought to the jury’s
             attention;

             ....

Fed. R. Evid. 606(b).


                                                  5
Case 3:13-cr-00434-FLW         Document 54       Filed 06/12/14      Page 6 of 12 PageID: 1085




arrests, Juror Six initially responded that she had done an internet search of Defendant’s name

only after deliberations had ended, the verdict had been entered, and the jury had been dismissed.

However, when I asked again, Juror Six amended her prior answer, stating instead that she had

actually first conducted an internet search of Defendant’s name immediately after she had been

selected for the jury panel, but before the Government had commenced its case-in-chief. When I

inquired what she learned from this search, Juror Six stated that she had only seen the headlines

for news articles that had appeared in the search results, but that she did not click through the

links for these articles or read them further. She could not recall what headlines she may have

seen pertaining to Defendant, but she did remember reading a headline referring to Defendant’s

uncle being a member of the Bloods. Finally, I asked Juror Six if she had engaged in any other

research—beyond her initial internet search the day she was selected and the search she

conducted after deliberations had concluded—or whether she had shared this or any other

extrajudicial information regarding Defendant with the other jurors, to which both questions

Juror Six responded in the negative. At this point, I concluded the interview.

       Copies of the sealed transcript of the interview were provided to the parties, and the

Court instructed the parties to brief Defendant’s Rule 33 motion for a new trial based on Juror

Six’s in camera testimony. In that connection, I informed the parties that I found Juror Six’s

testimony and demeanor during the in camera interview to evidence that, during the trial, “she

knew of Defendant and his relative’s reported involvement in a Trenton gang—i.e., information

that was not presented at trial.”5 Defendant now argues that Juror Six’s testimony—and this

Court’s determination—that she knew of Defendant’s connection to a Trenton gang during

5
        For that reason, I denied Defense counsel’s request to conduct a forensic examination of
Juror Six’s computer or other internet-connected devices to determine whether she had
conducted any additional research beyond what she described in her testimony, finding such an
investigation to be unnecessary in light of my finding.


                                                6
Case 3:13-cr-00434-FLW         Document 54        Filed 06/12/14       Page 7 of 12 PageID: 1086




Defendant’s trial is highly prejudicial, sufficient under the circumstances to warrant this Court

vacating Defendant’s conviction and ordering a new trial. In response, the Government contends

that even assuming that Juror Six was aware of Defendant’s relationship to a gang, this fact and

the surrounding circumstances do not constitute substantial prejudice, and thus a new trial should

not be ordered.

       Exposure to extraneous news sources about a criminal defendant’s case has long “been

held to call a verdict into question.” Gov’t of Virgin Islands v. Gereau, 523 F.2d 140, 150-51

(3d Cir. 1975) (“[W]here jurors consider evidence, in the form of either fact or opinion, which

has not been introduced in court, the confrontation and counsel rights of an accused are obviated

as regards the particular evidence received.”); Parker v. Gladden, 385 U.S. 363, 364 (1966)

Remmer v. United States, 347 U.S. 227, 229 (1954). However, “‘not every exposure to extra-

record information about the case will require a new trial.’” United States v. Gilsenan, 949 F.2d

80, 97 (3d Cir. 1991) (quoting Gov’t of Virgin Islands v. Dowling, 814 F.2d 134, 139 (3d Cir.

1987)). Rather, the Third Circuit has identified six factors to determine whether extra-judicial

information can be considered as having substantially prejudiced the jury:

       (1) [whether] the extraneous information . . . relates to one of the elements of the
       case that was decided against the party moving for a new trial; (2) the extent of
       the jury’s exposure to the extraneous information; (3) the time at which the jury
       receives the extraneous information; (4) the length of the jury’s deliberations and
       the structure of the verdict; (5) the existence of instructions from the court that the
       jury should consider only evidence developed in the case; and (6) whether there is
       a heavy volume of incriminating evidence.

United States v. Fumo, 655 F.3d 288, 307 (3d Cir. 2011) (citations and internal punctuation

omitted); United States v. Canalichio, 952 F. Supp. 2d 763, 767 (E.D. Pa. 2013) (citing Fumo).6

6
        Contrary to Defendant’s argument, the facts here do not align with those cases in which
courts have presumed prejudice. See United States v. Resko, 3 F.3d 684, 695 (3d Cir. 1993)
(citing Strickland v. Washington, 466 U.S. 668, 692 (1984) (prejudice presumed for actual or
constructive denial of the assistance of counsel altogether); Penson v. Ohio, 488 U.S. 75, 86-89


                                                 7
Case 3:13-cr-00434-FLW          Document 54        Filed 06/12/14      Page 8 of 12 PageID: 1087




       “In examining for prejudice, [a court] must conduct an objective analysis by considering

the probable effect of the allegedly prejudicial information on a hypothetical average juror.” Id.

at 304 (quoting United States v. Urban, 404 F.3d 754, 777 (3d Cir. 2005)). Once potential

prejudice has been identified, “‘the trial judge is obliged to investigate the effect of that exposure

on the outcome of the trial.’” Id. (quoting United States v. Console, 13 F.3d 641, 669 (3d Cir.

1993)). The Court must determine whether “the allegedly prejudicial information influenced the

jury ‘when it deliberated and delivered its verdict’” because the relevant issue is the

information’s impact on the verdict and not the “information in the abstract.” Urban, 404 F.3d at

777 (quoting Gilsenan, 949 F.2d at 95).

       Apply the factors, I find that there is a substantial likelihood that the extrajudicial

information learned by Juror Six prejudiced the jury. Juror Six discovered, at a minimum,

Defendant’s ties to a Trenton gang, and there is a strong possibility that she also learned that

Defendant had been previously arrested on other charges. Although these facts were not related

to any element of the charges, they fall within the category of evidence that is recognized as

being prejudicial propensity evidence. Indeed, evidence of a criminal defendant’s prior “bad

acts” is specifically excluded under the Federal Rules of Evidence, and is admissible in only

limited circumstances, none of which the Government relied on this case. F.R.E. 404; see, e.g.,

United States v. Carter, 410 F. App’x 549, 552-53 (3d Cir. 2011) (“[W]e emphasize that gang-

affiliation evidence should be admitted only when it is solidly tied to some legitimate purpose

other than a showing of a propensity to criminal conduct such as one or more of those specified

in Rule 404(b): motive, identity, opportunity, and the like.”); United States v. McKay, 431 F.3d

(1988) (prejudice presumed where defendant’s appointed appellate counsel failed to follow
prescribed procedures before withdrawing from representation); Cuyler v. Sullivan, 446 U.S.
335, 349-50 (1980) (prejudice presumed where defendant’s attorney had an actual conflict of
interest)). Accordingly, I apply the test enunciated in Fumo to determine whether Defendant was
prejudiced in this case.


                                                  8
Case 3:13-cr-00434-FLW        Document 54        Filed 06/12/14     Page 9 of 12 PageID: 1088




1085, 1093 (8th Cir. 2005) (“[G]ang affiliation evidence is not admissible where it is meant

merely to prejudice the defendant or prove his guilt by association with unsavory characters . . .

.”). This type of evidence is highly inflammatory and knowledge of a criminal defendant’s

involvement with a well-known gang could only make it more likely for a juror to believe that

the defendant committed a crime such as the ones at issue here—possession of a firearm. See

Carter, 410 F. App’x at 553 (describing evidence of defendant’s gang affiliation as “potentially

volatile”); see also United States v. Bradford, 246 F.3d 1107, 1117 (8th Cir. 2001) (“To be

certain, there is great potential for prejudice when evidence regarding gangs is at issue.”).

Moreover, while exposure to extrajudicial information may have been brief,7 the nature of the

extrajudicial information is such that even brief exposure raises a high possibility of prejudice.

Thus, I find that this first factor weighs in favor of a finding of prejudice that would support

granting a new trial.

       The lack of overwhelming incriminating evidence in the case also supports a finding of

prejudice.   To be sure, the evidence was not so lacking that it clearly would have been

appropriate for the Court to rule on Defendant’s Rule 29 motion, for acquittal based on

sufficiency of the evidence, at the close of the Government’s case-in-chief. Nevertheless, to

borrow a particularly apt colloquialism, there was no “smoking gun” in the Government’s case.

Instead, the Government relied almost entirely on testimony from only two of the four arresting

police officers.8   See, e.g., Trans. Sept. 16, 2013, T64-T71 (Testimony of Det. Asbury)

(testimony regarding his arrest of Defendant); id. at T141-T147 (Testimony of Det. Constance)

7
        As the Court has already found that Juror Six was not fully credible is describing how
many times she conducted research of Defendant, it may well be that the exposure was more
than just brief.
8
        Beyond these two witnesses, the Government only called one additional witness, Special
Agent Greco, on the element of whether the firearms identified in the indictment had travelled in
interstate commerce.


                                                9
Case 3:13-cr-00434-FLW           Document 54      Filed 06/12/14     Page 10 of 12 PageID: 1089




 (same). These two witnesses could not testify to a certainty that they saw Defendant physically

 holding any of the firearms listed in the indictment; rather, the substance of their testimony

 focused on their observations—in a dark alley at night, approximately twenty-plus feet away—

 on Defendant’s proximity to locations where the firearms were ultimately discovered. See, e.g.,

 id. at T109 (Testimony of Det. Astbury) (testifying that he was approximately 40-50 feet away

 from area where he believed Defendant had been holding a shotgun that was later discovered in

 the bushes); id. at T116 (clarifying previous testimony that he never actually saw or found a

 handgun in bushes or on Defendant, despite testifying previously he believed he saw one on

 Defendant from afar).      In that connection, there was no forensic examination done of the

 weapons retrieved, and thus no fingerprints or other evidence connecting Defendant to physical

 possession of the weapons listed in the indictment. See id. at T119:2-11 (Testimony of Det.

 Astbury) (explaining that no forensic analysis was done, but that, in any event, the Trenton

 Police handled this aspect of the arrest procedures); id. at T131:10-22 (same for DNA

 processing).      In sum, the entirety of the Government’s case turned on the eye-witness

 identification of Defendant by two officers. And although such evidence may, under normal

 circumstances, be sufficient to find guilt beyond a reasonable doubt, when coupled with the

 extrajudicial information learned by Juror Six, there is less certainty that Defendant’s conviction

 was based solely on the evidence presented by the Government. Cf. United States v. Thornton, 1

 F.3d 149, 156 (3d Cir. 1993) (holding that “[a]ny claim of prejudice is further undermined by the

 volume of incriminating evidence presented by the government during the remainder of the

 trial”).

            The jury’s short deliberations—within the span of an afternoon—and the fact that the

 jury rendered a split verdict between the two counts is not determinative of whether the




                                                 10
Case 3:13-cr-00434-FLW             Document 54    Filed 06/12/14      Page 11 of 12 PageID: 1090




 extrajudicial information should be considered prejudicial. As noted, this was not a complicated

 case; the Government’s case-in-chief spanned less than one and one-half days, and the defense

 only one-half day. The jury’s short deliberations are to be expected, even if there was some

 debate among the jurors regarding the strength of the Government’s case. With respect to the

 split verdict, in most circumstances this tends to indicate that the jury carefully considered and

 weighed the evidence. And here there certainly was more testimony from Government witnesses

 supporting the first charge in the indictment than there was for the second charge. Yet, I cannot

 be sure that the jury based its verdict solely on the evidence presented at trial. The nature of the

 information learned by Juror Six may have caused her to side with the other jurors—to convict

 on the first charge—when she may not otherwise have agreed with such a verdict had she not

 been exposed to extrajudicial information. Similarly, I am not convinced, because of Juror Six’s

 inconsistent testimony in the in camera interview, that she did not share some or all of the

 extrajudicial information with the other members of the jury. In my view, there exists an equally

 reasonable possibility that the jury as a whole knew of Defendant’s gang connections and other

 arrests, and—with knowledge of this extrajudicial information—could have based their decision

 to convict on a generalized feeling that Defendant was a career criminal or “bad” person, rather

 than on the evidence presented in the case. Thus, I find that these factors neither way for or

 against a finding of prejudice.

        Finally, two factors militate against a finding of prejudice: (i) the timing of when the

 extrajudicial information was learned—i.e., at the beginning of the case, and (ii) the instruction

 given by this Court, in charging the jury, to consider only the evidence presented in the case in

 reaching a verdict. Generally, the discovery of extrajudicial information at the outset of a trial,

 when followed by several days worth of evidence, coupled with either a curative or preemptive




                                                 11
Case 3:13-cr-00434-FLW           Document 54         Filed 06/12/14       Page 12 of 12 PageID: 1091




 charge to the jury to consider only evidence—which the jury is presumed to follow—minimizes

 any potential prejudice. United States v. Thornton, 1 F.3d at 156 (citing United States v.

 Gilsenan, 949 F.2d at 96). But it bears noting that the information may have particularly

 resonated with Juror Six, since she repeated it in detail in her internet posting following trial—

 i.e., the information was not forgotten.

         Considering all these factors leads me to conclude that there is a substantial likelihood

 that the extrajudicial information learned by Juror Six “influenced the jury when it deliberated

 and delivered its verdict.” Urban, 404 F.3d at 777 (internal quotation marks omitted). The

 nature of the information learned, the possibility that this may have been considered by one juror

 or shared and considered by all jurors, and the relative strength of the Government’s case all

 weigh in strongly in favor of a finding of prejudice. Put differently, under the circumstances of

 this case, I find that there is a reasonable possibility that Juror Six’s conduct is a “trial error [that]

 had a substantial influence on the verdict.” United States v. Mastro, 570 F. Supp. 1388, 1390

 (E.D. Pa. 1983); Government of Virgin Islands v. Bedford, 671 F.2d 758, 762 (3d Cir. 1982)).

 Accordingly, for these foregoing reasons, a new trial must be granted.

         IV.     CONCLUSION

         For the reasons stated above, Defendant’s Rule 33 motion is granted.                Defendant’s

 conviction is vacated and a new trial is granted. An order will be entered consistent with this

 Opinion.


 Dated: June 12, 2014                                     /s/ Freda L. Wolfson
                                                          Honorable Freda L. Wolfson
                                                          United States District Judge




                                                    12
